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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                             AT DETROIT

  SAMANTHA JAMES                        :
                                        :     CASE NO. 2:19-cv-12831

        Plaintiff                       :     JUDGE:

  vs.                                   :     MAGISTRATE JUDGE:

  HARTFORD LIFE AND ACCIDENT
  INSURANCE COMPANY
  200 Hopmeadow St.                : COMPLAINT
  Simsbury, CT 06089
                                   :
  and
                                   :
  GROUP LONG TERM DISABILITY
  PLAN FOR EMPLOYEES OF OAKWOOD
  HEALTHCARE, INC.                 :
  23400 Michigan Avenue, Suite 225
  Dearborn, MI 48124               :

        Defendants                      :



        Now comes the Plaintiff, Samantha James, by and through counsel,

  and for her Complaint hereby states as follows:




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                        JURISDICTION AND VENUE

        1.     Jurisdiction of the Court is based upon the Employee

  Retirement Income Security Act of 1974 (ERISA) and, in particular, 29

  U.S.C. § 1132(e)(1) and 1132(f). These statutory provisions give district

  courts jurisdiction to hear civil actions brought to recover benefits due under

  the terms of Employee Welfare Benefit Plans. In this case, the Plaintiff,

  Samantha James, asserts a claim for group disability benefits available under

  a long-term disability Plan provided for the employees of Oakwood

  Healthcare, Inc. (hereinafter the “Plan”). The Plan and policy documents

  should be included in the Administrative Record that Defendants file with

  this Court. This action is also brought pursuant to 28 U.S.C. § 1331 which

  gives district court’s jurisdiction over actions that arise under the laws of the

  United States.



        2.     The ERISA statute provides, at 29 U.S.C. § 1133, a mechanism

  for administrative or internal appeal of benefit denials.          Plaintiff has

  exhausted those avenues of appeal.




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                              NATURE OF ACTION

        3.     Plaintiff, Samantha James, seeks an award of disability benefits,

  including disability income benefits pursuant to an Employee Welfare

  Benefit Plan providing group disability benefits to employees of Oakwood

  Healthcare, Inc.       This action is brought pursuant to § 502(a)(1)(B) of

  ERISA, 29 U.S.C. § 1132(a)(1)(B). Plaintiff also seeks to enforce the right

  to future benefits and demand that Defendants account for past benefits and

  pay future benefits.



                                  THE PARTIES

          4.   Plaintiff was an active employee under the Plan and eligible for

  benefits as a qualified employee when her medical condition deteriorated,

  and she could no longer work. Plaintiff is now disabled. Venue is proper in

  the Eastern District of Michigan because the agreement providing long-term

  disability benefits was breached in Wayne County, Detroit, Michigan.



        5.     At all times relevant hereto, the long-term disability plans

  constituted an “Employee Welfare Benefit Plan” as defined by 29 U.S.C. §

  1002(1). Plaintiff became disabled while employed under the Plan and has

  coverage as a Plan participant as defined by 29 U.S.C. § 1002(7).


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             6.      The Plan’s “Claim Administration” is run by a Plan Fiduciary,

  which, upon information and belief, is Hartford Life and Accident Insurance

  Company, (hereinafter, "Hartford").



                                         STATEMENT OF FACTS

             7.      Samantha James was hired by Oakwood Healthcare, Inc. and

  worked as a Nursing Assistant before having to leave work on January 13,

  2010, due to non-ischemic cardiomyopathy, hypertension, Chronic

  Obstructive Pulmonary Disease (COPD), congestive heart failure, avascular

  necrosis, chronic back pain and hip pain. Ms. James had a dual-chamber

  PPM/AICD1 implant in June 2017.



             8.      Ms. James worked as a “Nursing Assistant” which is a semi-

  skilled, medium strength demand occupation.



             9.      Ms. James applied for short-term disability benefits upon her

  departure from work. These benefits were approved and paid for the time

  period of January 13, 2010 through July 14, 2010.




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      Combined automatic implantable cardioverter-defibrillator and pacemaker system.

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        10.     Long-term disability benefits began on July 15, 2010 and were

  paid for the inability to perform her "own occupation" until July 14, 2012.

  On July 15, 2012, the definition of disability changed to being unable to

  perform "any occupation" and Plaintiff was paid until August 14, 2018,

  under this definition of disability.



        11.     The definition of disability that Plaintiff must meet under the

  Oakwood Healthcare, Inc. policy, is as follows: "You are prevented from

  performing one or more of the Essential Duties of any occupation for which

  You are qualified by education, training or experience, and that has an

  earnings potential greater than the lesser of: 1) the product of Your Indexed

  Pre-disability Earnings and the Initial Benefit Period Percentage; or 2) the

  Maximum Monthly Benefit."          Ms. James' required earnings potential is

  $1,638.35 per month.



        12      On September 29, 2017, Anca Froman, M.D., Plaintiff's

  treating physician, opined that Plaintiff would only be capable of part-time

  sedentary work, 4 hours, 3-5 days per week and would not be capable of

  light work.




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          13.      Prior to the denial of benefits, Hartford sent Plaintiff to an

  Independent Medical Examination (IME)2 on June 29, 2018.                                 The IME

  examiner reported that Ms. James, "ambulates using either a quad cane or a

  walker" and that an MRI showed "degenerative changes as well as a disc

  protrusion at L4-5. The doctor reports that the extensive progress records

  and the claimant's physical exam corroborate a history of avascular necrosis

  of both hips, decreased range of motion in the hips and the lumbar spine and

  that she would not expect any significant change in the claimant's status.

  Despite these reports, the physician provided no restrictions for sitting

  (except to be able to change position every hour) and provided for 3-4 hours

  per 8 hour work day for sitting and standing combined for no longer than 15

  minutes at one time.



          14.      The Hartford also received a response from Plaintiff's treating

  primary care physician, Dr. Froman, on August 3, 2018, stating that she

  disagreed with the IME results citing Plaintiff's need for frequent doctors

  visits, frequent hospitalizations and symptoms associated with cardiac and

  pulmonary conditions and that Plaintiff would, "never be able to keep a full

  time job with these limitations."

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   The IME was done by a Physical Medicine and Rehabiltiation doctor who deferred all opinions regarding
  cardiac and pulmonary diagnoses, which are primary diagnoses in Ms. James' case.

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        15.    Hartford issued its initial denial of long-term disability benefits

  on August 14, 2018.



        16.    Plaintiff prepared and submitted her own administrative appeal

  on January 17, 2019. The appeal included a letter explaining why Plaintiff

  believed Hartford was incorrect in its denial of benefits and a letter from her

  treating physician supporting her inability to work.



        17.    In response to Plaintiff's appeal, Hartford, through third party

  vendor, ECN, hired two physicians to review Ms. James' file and prepare

  reports. On February 26, 2019, Dr. Katherine Herzog and Dr. William Jaffe

  prepared their reports and without examination offered the same restrictions

  and limitations as the previous IME, which provided for sedentary work.

  Dr. Jaffe indicated that Plaintiff has a 25% Left Ventricle Ejection Fraction

  and commented that this would, "increase the oxygen demand and stress on

  her heart and lead to potential worsening heart failure" if he did not follow

  the restrictions provided.       Hartford employees also completed an

  Employability Analysis which found sedentary occupations that Plaintiff

  could allegedly perform.




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        18.    Hartford denied the claim again on March 21, 2019 and advised

  Plaintiff that her administrative remedies were exhausted. Hartford provided

  no explanation as to why the non-examining file reviews were better than

  her treating providers' opinions.




                   FIRST CAUSE OF ACTION
        CLAIM FOR BENEFITS UNDER 29 U.S.C. § 1132(a)(1)(B)

        19.    Plaintiff incorporates as if fully restated herein the allegations

  in paragraphs 1 through 18 of the Complaint.



        20.    Defendant Plan and Hartford failed to exercise the statutorily

  required duty of care and prudence, failing to administer the Plan solely in

  the interests of the participants and beneficiaries as required under 29 U.S.C.

  § 1104(a)(1), and by denying the benefits to the Plaintiff contrary to the law

  and terms of the Plan. Hartford and the Plan have arbitrarily ignored and

  selectively reviewed documents Plaintiff has submitted and has failed to

  provide a full and fair review.



        21.    Defendant Hartford has an inherent “conflict of interest” as it

  has a dual role as both evaluator and payor of benefit claims, which is to be
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  considered as a factor in the review of any benefit determination. The

  conflict of interest effected the decision to deny benefits.     The conflict

  allowed Hartford an overreliance on non-examining physicians’ opinions.

  The conflict of interest caused Hartford to disregard relevant evidence with

  no explanation and totally or partially caused the denial of benefits without

  using a reasoned process.



        22.    While Defendant Hartford may have the authority to make

  claims determinations under applicable law and the language of the Policy,

  Hartford's determinations as Plan Fiduciary are not entitled to deference and

  the review of any benefits determination must be made de novo.



        23.    As a full de novo review of this decision and the evidence in the

  claim file is required by statute, this Court may not abrogate its duty to

  perform such a review. Any failure to provide such a review would violate

  the US Constitution and deprive Plaintiff of constitutional rights, including

  under Article III and the principles of separation of powers, amongst others.



        24.    The policy at issue in the case subjudice was issued to a

  Michigan corporation, Oakwood Healthcare, Inc., and was delivered in the


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   state of Michigan. As such, the policy is governed by the laws of the State

   of Michigan and de novo review is the applicable standard of review in this

   case. See Michigan Administrative Code R 500.2201-2202.



         25.    If the Court determines that an arbitrary and capricious standard

   of review applies to this case rather than a de novo standard, Hartford's

   denial of benefits must be overturned due to the faulty evaluation, confusing

   methods and below market standards employed by Hartford in the

   evaluation of evidence. Standards applicable under ERISA, including as

   enumerated by this Court, the Sixth Circuit Court of Appeals and the United

   States Supreme Court have been violated by Hartford and an examination of

   the record reveals that Hartford's decision to discontinue benefits is not the

   result of a reasoned process and that it is, therefore, arbitrary and capricious.



         26.    Hartford and the Plan have violated their duty to provide a full

   and fair review of claimant’s evidence by engaging in the following acts: 1)

   Defendants have ignored evidence supplied by Plaintiff which supports her

   disability (as referenced in para. 12 and 13); 2) Defendants relied upon non-

   examining peer reviews that mischaracterized Plaintiff’s medical severity (as

   referenced in para. 17); 3) Defendants have improperly relied upon


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   conclusion based peer reviews which failed to address the claimant’s actual

   limitations, which included pain, weakness, fatigue, and an inability to

   persist (as referenced in para. 17); and 4) ignored the actual demands of

   sedentary work which required some standing and walking as well as

   constant sitting which would be unrealistic due to lumbar back pathology

   and avascular necrosis (as referenced in para. 17 & 18).



          27.    Plaintiff has exhausted her administrative remedies and the Plan

   still wrongfully denies benefits to which she is entitled.



          28.    ERISA requires that an Employee Welfare Benefit Plan be

   established and maintained pursuant to a written instrument, 29 U.S.C. §

   1192(a)(1).



          29.    The disability Plan under which the Plaintiff Samantha James

   was a participant at the time of her disability should be included in the

   Administrative record filed with this Court as those documents set forth the

   sole criteria for benefits for the Plaintiff.




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            30.   ERISA provides that an Employee Benefit Welfare Plan shall

   be established and maintained pursuant to 29 U.S.C. § 1192(a)(1). Under

   the terms of this Plan documents, to be filed with the Administrative record,

   the termination of Plaintiff’s benefits was clearly unreasonable and without

   basis.



            31.   The Plan Administrator, the Plan and Hartford failed to provide

   a full and fair review under 29 CFR 2560.503-1 thereby depriving Plaintiff

   of her due process. See 29 CFR 2560.503-1(g)(1)(v)(A)&(B). The Code of

   Federal Regulations requires an adequate explanation of why the claimant’s

   evidence was insufficient to award benefits. Hartford offered no explanation

   of why claimant’s evidence was insufficient or why the evidence created by

   non-examining physicians was more reliable.



            32.   Plaintiff is entitled to benefits and benefits are due and owing to

   Plaintiff from Defendants in an amount not yet ascertainable. Plaintiff seeks

   the payment of these benefits under 29 U.S.C. § 1132(a)(1).




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         33.    Under a de novo review of Plaintiff's claim for benefits, she

   meets the definition of disability by a preponderance of the evidence,

   remains unable to work and is entitled to benefits under the insurance policy.



   WHEREFORE, Plaintiff, Samantha James, prays for the following relief:

         A.     That the Court enter judgment in Plaintiff James' favor and

                against the Defendants and that the Court order the Defendants

                to account and pay disability income benefits to Plaintiff James

                in an amount equal to the contractual amount of benefits to

                which James is entitled;

         B.     That the Court order the Defendants to pay James' pre-judgment

                interest on all benefits that have accrued prior to the date of

                judgment and enter judgment accordingly and that the Court

                reserve jurisdiction to enforce the equitable decree;

         C.     That the Court declare Samantha James' rights under the ERISA

                Plan, the ERISA statute, and the applicable insurance laws and

                order the Defendants to continue paying Plaintiff James'

                benefits until such time as the Court decides that she meets the

                policy conditions for discontinuance of benefits and this is

                perfected by an Order of this Court;


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         D.    That the Court award the Plaintiff her attorney fees pursuant to

               29 U.S.C. § 1132(g); and

         E.    That Plaintiff recovers any and all other relief to which she may

               be entitled, as well as the costs of the suit.



   Dated this 27th day of September, 2019




                                    Respectfully submitted,

                                    /s/ Joseph P. McDonald


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